Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21   Page 1 of 19 PageID 14




                       EXHIBIT “B”
                                                                                                           FILED
                                                                                              3/23/2021 11:27 AM
                                                                                                    FELICIA PITRE
   ClT/ESERVE
 2Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21                 Page 2 of 19 PageID 15        DISTRICT CLERK
                                                                                             DALLAS CO., TEXAS
                                                                                              Alicia Mata DEPUTY



                             CAUSE N0. DC-21-03700

JACQUELINE MOORE; AND RODNEY                         §        IN   THE DISTRICT COURT OF
MOORE                                                §
                                                     §
         Plaintiffs,                                 §
                                                     §
VS.                                                  §             DALLAS COUNTY, TEXAS
                                                     §
EDWARD BROWN; AND 933796                             §
ONTARIO INC. DBA CARMEN                              §
TRANSPORT;                                           §
                                                              160th
         Defendants.                                 §                  JUDICIAL DISTRICT

                             PLAINTIFFS' ORIGINAL PETITION

            Plaintiffs Jacqueline Moore and Rodney Moore file Plaintiffs' Original

      Petition complaining of Defendant Edward Brown and 933796 Ontario Inc. dba

  Carmen Transport (“Defendants”).

                              I.   DISCOVERY CONTROL PLAN

            Discovery is intended to be conducted under Level 3 pursuant to Rule 190

  of the TEXAS RULES 0F CIVIL PROCEDURE.

                         ll. RULE 47 PLEADING REQUIREMENTS

            As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiffs'

      counsel states that the damages sought are in an amount within the

      jurisdictional limits of this Court. As required by Rule 47(0), Texas Rules of Civil

      Procedure, Plaintiffs' counsel states that Plaintiffs seek monetary relief of over

      $250,000 but not more than $1 ,000,000. The amount of monetary relief actually

      awarded, however, will ultimately be determined by a jury. Plaintiffs also seek

      pre-judgment and post-judgment interest at the highest legal rate.




      PLAINTIFFS' ORIGINAL PETITION   —
                                          Page   1
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                                                Ill.   PARTIES

         Plaintiff Jacqueline Moore is an individual resident of Seagoville, Dallas

County, Texas. Her driver’s license number is *****599 and her social security

number is      ***-**—*621.


         Plaintiff Rodney Moore is an individual resident of Seagoville, Dallas

County, Texas. His driver’s license number is *****975 and his social security

number is      ***-**—*   785.

         Defendant Edward Brown is an individual nonresident of Texas and whose

home is located at 38 Edith Street, Jacksons Point, Ontario LOE 1L0, who may

be served with process by serving the Chairman of the Texas Transportation

Commission at 125 E.             11th   Street, Austin, Texas 78701, as Defendant’s agent

for service because Defendant was a party to a collision while operating a motor

vehicle   in   Texas. Tex. Civ. Prac.           & Rem.     Code Sections 17.062(b) and 17.063.

         Defendant 933796 Ontario Inc. d/b/a Carmen Transport, a foreign

corporation organized and existing under the laws of Canada, whose principal

office is located at 3700 Weston Road, Toronto, Ontario, Canada M9L 224, who

is authorized to do business in Texas, and may be served with process by

serving its registered agent identied                  through the Federal Motor Carrier Safety

Administration, All States Truck Permits, 128 East 5‘“ Street, Hereford, Texas

79045.

                                 IV. JURISDICTION AND VENUE

         The Court has jurisdiction over the controversy because the damages are

within the jurisdictional limits of this Honorable Court.




PLAINTIFFS' ORIGINAL PETITION              —
                                               Page 2
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       This Court has venue over the parties to this action since the incident

complained of herein occurred in Dallas County, Texas. Venue therefore is

proper in Dallas County, Texas pursuant to the TEXAS CIVIL PRACTICE & REMEDIES

CODE §1 5.002.

                                          V. FACTS

       This lawsuit arises out of a motor vehicle collision that occurred on or

about Tuesday, February 23, 2021 at 5200 East Grand Avenue at the business

of City Warehouse in Dallas, Texas within the city limits of Dallas, Dallas County,

Texas. Plaintiff Jacqueline Moore and her husband Rodney Moore, who was the

passenger, were sitting    in Plaintiff   Jacqueline Moore’s vehicle while parked   in the


City Warehouse’s parking lot. Defendant Edward Brown, employed by

Defendant 933796 Ontario Inc. d/b/a Carmen Transport, was operating his 18-

wheeler   in the   parking lot of City Warehouse. Defendant Edward Brown drove

unsafely and collided hard into Plaintiffs’ parked vehicle. As a result of the

collision, Plaintiffs were injured and continue to suffer injuries and damages from

this incident.

                               VI. CAUSES OF ACTION

A.      NEGLIGENCE — DEFENDANT EDWARD BROWN

       At the time of the motor vehicle collision, Defendant Edward Brown was

operating his 18-wheeler negligently. Specifically, Defendant had a duty to

exercise ordinary care and operate his 18-wheeler reasonably and prudently.

Defendant breached that duty in one or more of the following respects:




PLAINTIFFS' ORIGINAL PETITION      —
                                       Page 3
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      1.     Defendant failed to keep such proper lookout and attention to the
             roadway as a person or ordinary prudence would have kept under
             the same or similar circumstances;

      2.     Defendant failed to yield the right-of way to Plaintiffs’ parked
             vehicle;

      3.     Defendant failed to keep an assured safe distance from Plaintiffs'
             vehicle;

      4.     Defendant failed to timely apply the brakes of his 18-wheeler in
             order to avoid the collision in question; and

      5.     Defendant failed to safely operate his tractor-trailer.

B.    NEGLIGENT ENTRUSTMENT — DEFENDANT 933796 ONTARIO INC.
      DBA CARMEN TRANSPORT

      As an additional cause of action, Plaintiffs would show that at the time and

on the occasion in question, Defendant 933796 Ontario Inc. dba Carmen

Transport was the owner of the vehicle driven by Defendant Edward Brown.

Defendant 933796 Ontario Inc. dba Carmen Transport entrusted the vehicle to

Defendant Edward Brown. Defendant Edward Brown was unlicensed,

incompetent, and/or reckless and Defendant 933796 Ontario Inc. dba Carmen

Transport knew or should have known that Defendant Edward Brown was

unlicensed, incompetent, and/or reckless. Defendant Edward Brown's

negligence on the occasion in question proximately caused the collision.

C.    RESPONDEAT SUPERIOR - DEFENDANT 933796 ONTARIO INC. DBA
      CARMEN TRANSPORT

      Additionally, Plaintiffs would show that at the time and on the occasion

complained of, Defendant Edward Brown was in the course and scope of his

employment with Defendant 933796 Ontario Inc. dba Carmen Transport thereby




PLAINTIFFS' ORIGINAL PETITION   —
                                    Page 4
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making Defendant 933796 Ontario Inc. dba Carmen Transport liable under the

doctrine of Respondeat Superior.

D.     NEGLIGENCE — DEFENDANT 933796 ONTARIO INC. DBA CARMEN
       TRANSPORT
       Defendant 933796 Ontario Inc. dba Carmen Transport failed to properly

hire/qualify, train, retain, and/or supervise Defendant Edward Brown in order to

prevent such collision.

       Each of the above and foregoing acts and omissions, singularly or in

combination, constituted the negligence that was the proximate cause of the

motor vehicle collision and consequently the injuries and damages of Plaintiffs.

                                     VII. DAMAGES

       As a proximate result of Defendants’ negligence, Plaintiffs suffered

extensive injuries and damages. As a result of Plaintiffs' injuries, Plaintiffs

suffered the following damages:

       a.     Medical expenses in the past and future;

       b.     Plaintiffs’ lost wages in the past and loss of earning capacity in the
              future;

              Property damage and loss of use of Plaintiffs' vehicle;

              Physical pain and suffering       in the   past and future;

              Mental anguish in the past and future; and

              Physical impairment      in the   past and future.




PLAINTIFFS' ORIGINAL PETITION    —
                                     Page 5
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             VIII. INTENT TO USE DEFENDANT'S DOCUMENTS

      Plaintiffs hereby give notice of intent to utilize items produced in discovery

against the party producing same. The authenticity of such items is self-proven

per TRCP 193.7.

                                    IX.    JURY TRIAL
      Plaintiffs demand a trial by jury and include the appropriate jury fees.

                             X. U.S. LIFE TABLES

      Notice is hereby given to the Defendants that Plaintiffs intend to use the

U.S. Life Tables as prepared by the Department of Health and Human Services.

                                          XI. RELIEF

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs request that
Defendants be cited to appear and answer herein, and that upon      nal   hearing

thereof, Plaintiffs recoverjudgment against Defendants for:

       1.    Plaintiffs' past medical expenses, which are reasonable and
             customary for the medical care received by Plaintiffs;

      2.     Plaintiffs' future medical expenses;

      3.     Plaintiffs’ lost wages in the past and loss of earning capacity in the
             future;

      4.     Plaintiffs' property damage and loss of use of Plaintiffs' vehicle;

      5.     Plaintiffs' physical pain and suffering in the past and future in an
             amount to be determined by the jury;

      6.     Plaintiffs' mental anguish in the past and future in an amount to be
             determined by the jury;

      7.     Plaintiffs' physical impairment in the past and future in an amount to
             be determined by the jury;




PLAINTIFFS' ORIGINAL PETITION   —
                                    Page 6
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      8.     Interest on the judgment at the legal rate from the date of judgment;

      9.     Pre-judgment interest on Plaintiffs' damages as allowed by law;

      10.   All costs of court; and

      11.    Such other and further relief to which Plaintiffs may be justly
             entitled.

                                     Respectfully submitted,

                                     WITHERITE LAW GROUP, PLLC


                              BY: /s/ Victor Rodriguez
                                     VICTOR RODRIGUEZ
                                     State Bar No. 24063577
                                     victor.rodriquez@witheritelaw.com
                                     SHELLY GRECO
                                     State Bar No. 24008168
                                     shellv.qreco(o)witheritelaw.com
                                     901 W. Vickery Blvd., Suite 900
                                     Fort Worth, TX 76104
                                     81 7/263-4466
                                     81 7/263-4477 (fax)

                                     ATTORNEYS FOR PLAINTIFFS




PLAINTIFFS' ORIGINAL PETITION   —
                                    Page 7
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                                            FELICIA PITRE
                              DALLAS COUNTY DISTRICT CLERK

                                        NINA MOUNTIQUE
                                           CHIEF DEPUTY




                               CAUSE NO. DC-21-03700



                              JACQUELINE MOORE, et al

                                                   VS.

                                 EDWARD BROWN, et al



                                    160th District Court




                       ENTER DEMAND FOR JURY
                            JURY FEE PAID BY: PLAINTIFF

                                         FEE PAID: $40




                 600   COMMERCE STREET DALLAS, TEXAS 75202 (214) 653-7261
                        FAX (214)653-7781 E-mail: Felicia.Pitre@da11ascounty.org
                        Web site: http://Www.dallascouuty.org/distclerk/index.htrnl
                          Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21                             Page 10 of 19 PageID 23



FORM NO. 353-3 - CITATION                                                                                                           ESERVE
THE STATE OF TEXAS
                                                                                                                                  CITATION

To:      933796ONTARIO INC. DBA CARMEN TRANSPORT
         SERVING REGISTERED AGENT ALL STATES TRUCK PERMITS                                                                        DC-21-03700
         128 EAST 5TH STREET
         HEREFORD TEXAS              79045
                                                                                                                           JACQUELINE MOORE, et al
GREETINGS:                                                                                                                              vs.
You have been sued. You may employ an attorney. If you or your attorney do not le a written                                  EDWARD BROWN, et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
                                                                                                                                 ISSUED THIS
against you. In addition to ling a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days              26th day of March, 2021
after you le your answer with the clerk. Find out more at TexasLawHelp.org. Your answer should be
addressed to the clerk of the 160th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                 FELICIA PITRE
Said Plaintiff being JACQUELINE           MOORE AND RODNEY MOORE                                                              Clerk District Courts,
                                                                                                                              Dallas County, Texas
Filed in said Court 23rd day of March, 2021 against

EDWARD BROWN AND 933796 ONTARIO INC. DBA CARMEN TRANSPORT                                                               By: DANIEL MACIAS, Deputy

For Suit, said suit being numbered DC—21-03700, the nature of which demand is as follows:                                    Attorney for Plaintiff
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition, a copy of which accompanies                                  VICTOR R RODRIGUEZ
this citation.   If this citation is not served, it shall be returned unexecuted.                                       901 W VICKERY BLVD STE 900
                                                                                                                           FORT WORTH TX 76104
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                     817-263-4466
Given under my hand and the Seal of said Court at ofce this 26th day of March, 2021.                                   victor.rodriguez@witheritelaw.com

ATTEST: FELICIA PITRE,                       the District Courts   of Dallas, County, Texas
                                 Cle/rk_of
                                                                                               w‘mmmk‘y
                                                                                                                           DALLAS COUNTY
                                                                                                                            SERVICE FEES
                            By                                                 ,Deputy        €3-"
                                                                                                   ‘       3'
                                                                                                           "'   :21;          HOT PAID
                                   DANIEL MACIAS
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                                                                                                “Mun!““w
                                Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21                                                Page 11 of 19 PageID 24




                                                                            OFFICER'S RETURN
Case No.   :   DC-21-03700

Court No. 160th District Court

Style:   JACQUELINE MOORE,           et a1

vs.

EDWARD BROWN, et al
Came to hand on the                            day of                       ,   20             ,   at                 o'clock          .M. Executed at

within the County of                                       at                   o'clock                 .M. on the                    day   of
20                     ,   by delivering to the within named



each in person, a true copy     of this Citation together with the accompanying copy of this pleading, having rst endorsed on same               date   of delivery. The distance actually traveled by
me in serving such process was                  miles and my fees are as follows: To certify which witness my hand.

                                  For serving Citation          $

                                  For mileage                   $                                       of                        County,

                                  For Notary                    $                                       By                                                      Deputy

                                                                    (Must be veried       if served outside the State of Texas.)
Signed and sworn to by the said                                         before me this                       day of                          ,   20

to certify which witness my hand and seal       of ofce.


                                                                                                        Notary Public                                          County
                                        Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21                   Page 12 of 19 PageID 25

FORM NO. 3534 CITATION                                                                                                                    ESERVE (COH)
THE STATE OF TEXAS
To:     EDWARD BROWN                                                                                                                         CITATION
        BY SERVING THE CHAIRMAN OF THE TRANSPORTATION COMMISSION
        125 E 11TH STREET
        AUSTIN, TEXAS 78701                                                                                                 I
                                                                                                                                          No.: DC-21-03700
                                                                                                                                     JACQUELINE MOORE, et al
GREETINGS:                                                                                                                                           vs.
You have been sued. You may employ an attorney. If you or your attorney do not le a written answer with the clerk                      EDWARD BROWN, et al
who issued this citation by 10 o'clock am. of the Monday next following the expiration of twenty days after you were
served this citation and petition, a default judgment may be taken against you.
 In addition to ling a written answer with the clerk, you may be required to make initial disclosures to the other
                                                                                                                                               ISSUED
 parties of this suit. These disclosures generally must be made no later than 3O days after you le your answer with
                                                                                                                                 ON THIS THE 1ST DAY OF APRIL,
 the clerk. Find out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 160th District
                                                                                                                                                 2021
 Court at 600 Commerce Street, Dallas Texas, 75202.
  Said PLAINTIFF being        JACQUELINE MOORE AND RODNEY MOORE
                                                                                                                            FELICIA PITRE
 Filed in said Court on the 23rd day of March, 2021 against                                                                 Clerk District Courts,
                                                                                                                            Dallas County, Texas
 EDWARD BROWN AND 933796 ONTARIO INC. DBA CARMEN TRANSPORT
                                                                                                                                By DANIEL MACIAS, Deputy
 For suit, said suit being numbered DC-21-03700 the nature of which demand is as follows:
 Suit On MOTOR VEHICLE ACCIDENT etc.                                                                                                    Attorney for : Plaintiff
as shown on said petition a copy of which accompanies this citation. If this citation is not served, it shall be returned
                                                                                                                                       VICTOR RODRIGUEZ
unexecuted.
                                                                                                                                  WITHERITE LAW GROUP, PLLC
                                                                                                                                  901 W VICKERY BLVD STE 900

WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                         FORT WORTH TX 76104
                                                                                                          “mum”
                                                                                                                                            817—263-4466
 Given under my hand and the Seal of said Court at ofce on this the 1st day of April, 2021
ATTEST: FELICIA PlTRE                  District Courts of Dallas, County, Texas                       ggfluixz                    victor.rodriguez@witheritelaw.com
                              Cle1;l_<'c_)fthe                                                                        =


                                        / 2v
                                    I                                                                ggfa                                DALLAS COUNTY
                         By                                             ,   Deputy                    3953...}..-g3‘ijg
                                                 DANIEL MACIAS                                          “White"                           SERVICE FEES
                                                                                                                                               NOT PAID
                                       Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21                                Page 13 of 19 PageID 26


                                                                                 OFFICER'S RETURN
                                                                                 FOR INDIVIDUALS
Cause No. DC—2 1 -O3700
Court No: 160th District Court

Style:   JACQUELINE MOORE, et a1
vs.
EDWARD BROWN,             et   a1


Received this Citation the                 day of                     ,   20      at                  o'clock. Executed at                      , within the County of
                                                     , State     of               , on the                  day of                      , 20      , at        o'clock, by
delivering to the within named                                                                     each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having rst   indorsed on same the date      of delivery.
                                                                                                 000000
                                                                                 OFFICER'S RETURN
                                                                                FOR CORPORATIONS
Received this Citation the                 day of                     ,   20      at                  o'clock   _.M.   Executed at                     ,   within the County of
                                                     ,   State   of                          ,   on the              day of                   ,   20       , at           o'clock   _       .M.
by summoning the within named Corporation,
                                                                                                                 President - Vice President - Registered Agent - in person, of the said

          a true copy   of this citation together with the accompanying copy of Plaintiffs original petition, having rst indorsed on same the date of delivery.
                                                                                             000000
The distance actually traveled by me in serving such process was                         miles and my fees are as follows:        To certify which witness by my hand.
For Serving Citation     $                               Sheriff
For Mileage              $                               County of
For Notary               $                               State of
         Total Fees      $                               By
(Must be veried if served outside the State of Texas)
State of
County of
         Signed and sworn to me by the said                                               before me this                 day of                                        ,   20       ,   to certify
which witness my hand and seal of ofce.

                                                     Seal                                                                                State & County of
                                                                                                                        FILED
                                                                                                             3/30/2021 9:27 AM
                                                                                                                FELICIA PITRE
       Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21                 Page 14 of 19 PageID 27 DISTRICT CLERK
                                                                                     Brenda Rodri m8 00., TEXAS
                                                                                               JAVIER   H   RNANDEz DEPUTY

                                                                        Writer’s Direct Dial: (817) 369-3328
                                                                               Writer’s Fax: (817) 402-2238
                                                       Writer’s E-mail: brenda.rodriguez@witheritelaw.com
                                                       Attorney's Email: victor.rodriquez@witheritelaw.com


             WITHERITE
I‘AV         LAW         GROUP



                                                March 30, 2021

 VIA E-FILING
 Office of Felicia Pitre
 Dallas County District Clerk
 600 Commerce St., suite 145
 Dallas, Texas 75202

        Re:      Jacquueline Moore et al. v. Edward Brown et aI.Cause No. DC-21-03700 on the docket
                 of the the 160‘“ Judicial District Court of Dallas County, Texas

 Dear Sir/Madam:

        In   regards to the above referenced matter, please issue the citations as follows:

                 1. An additional citation fee of $4.00 serving the Chairman of Texas Transportation
              Commission, 125 E. 11th Street, Austin, Texas 78701-2483 regarding Edward Brown.

        The fee has been submitted through E-File. Please e-issue copies of the citations to
        brenda.rodriquez@witheritelaw.com. Please do not hesitate to contact me with any questions or
        concerns. want to thank you for your assistance and hope you have a great day.
                     |                                              |




                                                       Sincerely,


                                                              aw
                                                       Brenda Rodriguez
                                                       Litigation Assistant

 /br
       Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21             Page 15 of 19 PageID 28
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Brenda Rodriguez on behalf of Victor Rodriguez
Bar No. 24063577
Brenda.Rodriguez@witheritelaw.com
Envelope ID: 51954244
Status as of 4/1/2021 11:03 AM CST

Case Contacts

Name               BarNumber   Email                               TimestampSubmitted     Status
Victor Rodriguez               victor.rodriguez@witheritelaw.com   3/30/2021 9:27:05 AM   SENT
Vicki McDowell                 vicki.mcdowell@witheritelaw.com     3/30/2021 9:27:05 AM   SENT
Brenda Rodriguez               brenda.rodriguez@witheritelaw.com   3/30/2021 9:27:05 AM   SENT
Trece Phillips                 trece.phillips@witheritelaw.com     3/30/2021 9:27:05 AM   SENT
                                                                                                                FILED
                                                                                                     4/8/2021 9:11 AM
                                                                                                       FELICIA PITRE
  Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21                Page 16 of 19 PageID       29 DISTRICT CLERK
                                                                                                 DALLAS CO., TEXAS
                                                                                              Eduardo Suarez DEPUTY


                                   CAUSE NO. DC-21-03700

JACQUELINE MOORE AND                         §              IN THE DISTRICT COURT
RODNEY MOORE                                 §
                                             §
VS.                                          §              160TH JUDICIAL DISTRICT
                                             §
EDWARD BROWN AND 933796                      §
ONTARIO INC. DBA CARMEN                      §
TRANSPORT                                    §              DALLAS COUNTY, TEXAS


                              DEFENDANTS’ ORIGINAL ANSWER


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, EDWARD BROWN AND 933796 ONTARIO INC. DBA CARMEN

TRANSPORT, Defendants in the above numbered and styled cause, and file this their Original

Answer, and in support thereof would respectfully show unto the Court the following:

                                                 I.

       Defendants deny each and every, all and singular, the material allegations made against

them in this cause, demand strict proof thereof, and of this puts themselves upon the country.

                                                 II.

       Pleading further, Defendants would show that at the time and on the occasion in question

Plaintiffs failed to exercise that degree of care and caution which would have been exercised by

persons of ordinary prudence under the same or similar circumstances. Such acts and omissions

on the part of Plaintiffs constituted negligence and was a direct and proximate cause of the

accident in question and the damages, if any, sustained by Plaintiffs.

                                                 III.

       Pleading further, Defendants would show that the Plaintiffs’ recovery, if any, of medical or

health care expenses incurred is limited to the amount actually paid or incurred by or on behalf of

the Plaintiffs as mandated by Texas Civil Practice & Remedies Code Section 41.0105.




DEFENDANTS’ ORIGINAL ANSWER                                                                 PAGE 1
  Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21                   Page 17 of 19 PageID 30


                                                 IV.

        While denying that Plaintiffs sustained injuries and suffered the incapacities as alleged,

Defendants would show that the injuries sustained by the Plaintiffs prior and/or subsequent to the

date of the accident made the basis of this suit were the cause of the alleged injuries, if any,

and/or incapacity of the Plaintiffs.

                                                  V.

        Defendants would further show that the acts and omissions of Plaintiffs were the sole

proximate cause, or in the alternative, a proximate cause of any damages sustained.

                                                  VI.

        By way of further defense, Defendants would show that Plaintiffs have failed to mitigate

their damages.

        WHEREFORE, PREMISES CONSIDERED, Defendants Edward Brown And 933796

Ontario Inc. dba Carmen Transport pray that upon final trial and hearing hereof that no recovery

be had from them, that they go hence without day and recover their costs, and for such other and

further relief to which they may be justly entitled and will ever pray.

                                                        Respectfully submitted,

                                                        WALTERS, BALIDO & CRAIN, L.L.P.


                                                        By:   /s/ Jonathan L. Davenport
                                                         JONATHAN L. DAVENPORT – 24102502
                                                         JERRY L. EWING – 06755470
                                                         JAMES G. MENDEZ – 24121733
                                                         Meadow Park Tower, Suite 1500
                                                         10440 North Central Expressway
                                                         Dallas, Texas 75231
                                                         (214) 749-4805 – Phone
                                                         (214) 760-1670 – Facsimile
                                                         davenportvfax@wbclawfirm.com




DEFENDANTS’ ORIGINAL ANSWER                                                                 PAGE 2
  Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21                  Page 18 of 19 PageID 31


                                   CERTIFICATE OF SERVICE

       This is to certify that on this 8th day of April 2021 a true and correct copy of the foregoing
was served upon all counsel of record in accordance with the TEXAS RULES OF CIVIL PROCEDURE.


                                                       /s/ Jonathan L. Davenport
                                                      JONATHAN L. DAVENPORT




DEFENDANTS’ ORIGINAL ANSWER                                                                   PAGE 3
       Case 3:21-cv-00810-S Document 1-2 Filed 04/08/21                   Page 19 of 19 PageID 32
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Shelby Dobson on behalf of Jonathan Davenport
Bar No. 24012502
shelbyd@wbclawfirm.com
Envelope ID: 52248743
Status as of 4/8/2021 9:15 AM CST

Case Contacts

Name                                 BarNumber   Email                               TimestampSubmitted    Status

Trece Phillips                                   trece.phillips@witheritelaw.com     4/8/2021 9:11:33 AM   SENT

Brenda Rodriguez                                 brenda.rodriguez@witheritelaw.com   4/8/2021 9:11:33 AM   SENT

Victor Rodriguez                                 victor.rodriguez@witheritelaw.com   4/8/2021 9:11:33 AM   SENT

Vicki McDowell                                   vicki.mcdowell@witheritelaw.com     4/8/2021 9:11:33 AM   SENT

Jonathan Davenport andJames Mendez               davenportvfax@wbclawfirm.com        4/8/2021 9:11:33 AM   SENT
